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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   -----------------------------------------------------X

   In re                                                           Chapter 11

   EAST 44TH REALTY, LLC.,                                         Case No. 05-

                                       Debtor.
   ------------------------------------------------------X


              AFFIDAVIT PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2

   STATE OF NEW YORK )
                                      ss.:
   COUNTY OF NEW YORK )

              Yusuf Bildirci being duly sworn, deposes and says:

              1.     I am the managing member of the debtor, East 44th Realty, LLC.

   (“Debtor”).

              2.     The Debtor is the tenant under a under a net-lease dated as of December 9,

   1960, as amended from time to time thereafter (the “Lease”). The premises subject to the

   Lease is a multi-story building located at 228-238 East 44th Street in Manhattan (the

   “Building”) comprised of 164 residential units and three commercial spaces. The Debtor

   is the sub-lessor of the premises, collects rents from its subtenants and manages the

   premises. The filing of the instant petition under Chapter 11 of the Bankruptcy Code was

   necessitated by the existence of an ongoing dispute between the Debtor and the landlord

   East Forty-Fourth Street L.L.C. (“Landlord”) concerning alleged defaults by the Debtor

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   under the Lease and efforts by the Landlord to terminate Lease. The issue of the Lease’s

   ongoing validity is the subject of an appeal currently pending before the New York

   Supreme Court, Appellate Division for the First Department in East 44th Realty, LLC v.

   East Forty-Fourth Street L.L.C., Index No. 110952/04.

              3.     No committee of creditors was previously appointed hereto.

              4.     There is no prior pending bankruptcy case.

              5.     The schedule of twenty (20) largest creditors is annexed to the petition.

              6.     The Debtor’s only secured claimant is New York Community Bank with a

   mortgage of $12.6 million and approximately $111,658.10 in alleged legal.

              7.     The Debtor’s main asset is the Lease, which generates rental revenues

   equal to $ 71,000 per month. The Debtor’s other assets included a malpractice cause of

   action against its former attorney and damages claims against the Landlord. The

   Debtor’s unsecured debt is approximately $252,825.71.

              8.     No property of the Debtor is in the possession or custody of any public

   officer, receiver, trustee, assignee for the benefit of creditors, mortgagee, pledgee or

   assignee of rents.

              9.     No shares of stock, debentures or other securities of the Debtor are

   publicly held.

              10.    The Debtor maintains its offices at 12 East 37th Street, New York, New

   York 10016.

              11.    The Debtor books and records are located at the Debtor’s offices at 12

   East 37th Street, New York, NY 10016.




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              12.    On July 2, 2004, the Landlord served the Debtor with a notice of default

   based on the purported failure by the Debtor to complete certain undelineated repairs and

   threatened to terminate the Lease if the alleged default was not cured within thirty (30)

   days (the “July 2 Default Notice”). On July 28, 2004, the Debtor commenced the action

   styled East 44th Realty, LLC v. East Forty-Fourth Street L.L.C., Index No. 110952/04

   (Diamond, J.), in which the Debtor sought and was granted a Yellowstone injunction.

   The Landlord subsequently asserted counterclaims, and moved for summary judgment

   before issue was joined on its counterclaims. Significantly, at no time did the Landlord

   specify what repairs were required to cure the default, nor was any discovery taken with

   respect to this (or any other) issue.

              The parties’ motions were decided by the trial court in an order dated February

   26, 2005 (the “Lower Court Order”). Among other things, the court held that the Debtor

   was responsible for the repairs at issue, but failed to define the scope of the work

   ostensibly required or to order the Landlord to do so. The trial court also failed to

   provide the Debtor with any time to effect the repairs, which would in all events require

   more than the four days remaining in the cure period to complete, and vacated the

   Yellowstone injunction. On March 10, 2005, the Landlord purported to serve a Notice of

   Termination of the Lease as of March 31.

              The Debtor served Notice of Appeal of the Lower Court Order on March 18,

   2005. On May 6, after the trial court denied a motion for a preliminary injunction

   reinstating the Yellowstone injunction, the Debtor made an emergency application to the

   Appellate Division for a stay pending appeal pursuant to CPLR §§ 5518 and 5519. An

   interim stay was granted on May 6 and on May 26, the Appellate Division granted the


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   Debtor’s motion for a stay pending appeal, thereby staying the effect of the purported

   Termination Notice.

              The issues on appeal include (i) whether the non-specific July 2 Default Notice

   was valid; (ii) whether trial court erred in finding the Debtor liable for indeterminate,

   undelineated repairs without ordering the Landlord to define the scope of the work

   ostensibly required; (iii) whether trial court erred when it lifted the Yellowstone

   injunction without affording the Debtor ample time to perform the work ostensibly

   required; and (iv) whether the Landlord’s purported Lease termination was valid. The

   Debtor’s deadline to perfect its Appeal is August 8, 2005.

              13.    The Debtor has approximately eleven employees and the estimated weekly

   payroll for thirty days following the filing of the chapter 11 petition is $5,800 per week or

   $23,200 for four weeks.

              14.    The amount proposed to be paid to officers, stockholders and directors for

   thirty days following the filing of the chapter 11 petition is $0.00.

              15.    During the next thirty (30) day period, the Debtor estimates that its income

   will be $296,000, and that its expenses will be approximately $315,200.


                                                   _/s/ Yusuf Bildirici_____________
                                                   Yusuf Bildirici, Managing Member

   Sworn to before me this
   5th day of August, 2005

   ___/s/ Warren R. Graham__
   Notary Public

   Warren R. Graham
   Notary Public, State of New York
   No. 02GR6114052
   Qualified in New York County
   Commission Expires August 5, 2006


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